                   IN THE UNITED STATES DISTRICT COURT FOR
             THE EASTERN DISTRICT OF TENNESSEE AT CHATTANOOGA

 ESTATE OF BRANDON D. GASH, b/n/k                 )
 HARRY GASH and SHERYL GASH, parents,             )
                                                  )
         Plaintiffs,                              )
                                                  )
 V.                                               )               CASE NO. 1:19-cv-112
                                                  )
 BRADLEY COUNTY, TENNESSEE,                       )               JURY TRIAL DEMANDED
 GOVERNMENT, QUALITY                              )
 CORRECTIONAL HEALTH CARE, GABE                   )
 THOMAS, in his individual and official capacity, )
 And ERIC WATSON, in his individual and           )
 Official capacity,                               )
                                                  )
         Defendants.                              )

                                  STIPULATION OF DISMISSAL
         The Parties, by and through counsel, and pursuant to FRCP 41(a)(1)(A)(ii), hereby

 stipulate to the Plaintiff's Voluntary Dismissal of this suit.


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